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                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
                                OAKLAND DIVISION


 EPIC GAMES, INC.,                                Case No. 4:20-cv-05640-YGR-TSH

                  Plaintiff, Counter-defendant,

 APPLE INC.,                                  RESPONSE TO EPIC’S OBJECTIONS
                                              TO SPECIAL MASTER RULINGS ON
                  Defendant, Counterclaimant. APPLE INC.’S PRODUCTIONS OF RE-
                                              REVIEWED PRIVILEGE DOCUMENTS



The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom E - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,

        Pursuant to section 4 of the Joint Stipulation and Order Approving Privilege Re-Review
Protocol (Dkt. 1092) (the “Protocol”), Apple respectfully submits the following Response to
Epic’s Objections to certain of the Special Masters’ rulings on Apple’s second production of re-
reviewed and privileged documents produced on December 30, 2024 and Apple’s third production
of re-reviewed and privileged documents produced on January 6, 2025. We are submitting these
documents for in-camera review contemporaneously with this filing.

        Apple’s responses relate only to documents Apple believes are not already covered by Your
Honor’s and Judge Gonzalez Rogers’ existing rulings on Apple’s privilege assertions in this post-
judgment discovery. As previously noted, see Dkt. 1109, Apple reserves all rights as to documents
affected by those rulings, including any post-judgment appellate rights.

       Virtually all of Epic’s objections relate to documents it admits or contends it already has.
Epic relies on that premise to infer that the documents cannot be privileged, but settled precedent
forecloses that argument. As in its prior objections, Epic cites no precedent outside of this case.
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Attachments to Privileged Communications (Entry Nos. 517 (PRIV-APL-EG_00022413),
518 (PRIV-APL-EG_00022414), 572 (PRIV-APL-EG_00023133), 573 (PRIV-APL-
EG_00023139), 574 (PRIV-APL-EG_00023709), 575 (PRIV-APL-EG_00023727), 576
(PRIV-APL-EG_00023739),      577  (PRIV-APL-EG_00023742),      703   (PRIV-APL-
EG_00027301), and 704 (PRIV-APL-EG_00027309))

        Epic objects to the Special Masters’ upholding of Apple’s privilege assertion over certain
attachments in emails between counsel and non-lawyers, arguing that if such documents are
otherwise public, “the attachment of these unprivileged documents to a potentially privileged
parent email does not extend the privilege to the attachments.” Dkt. 1134, at 1–2. Epic cites no
precedent for this categorical assertion, and it is wrong. Federal courts across the country have
repeatedly held that attachments to emails seeking or providing legal advice may be privileged,
even if the attachments comprise public or non-privileged information standing alone. See Linet
Ams., Inc. v. Hill-Rom Holdings, Inc., 2024 WL 3425795, at *16 (N.D. Ill. July 15, 2024)
(surveying law and agreeing that “attachments to privileged communications can properly be
withheld as part of an attorney client privileged communication, at least in some instances”); Willis
Elec. Co. v. Polygroup Trading Ltd., 2021 WL 568454, at *7 (D. Minn. Feb. 16, 2021) (adopting
rule “protect[ing] a party from having to disclose that those specific documents were sent to
counsel in connection with a request for legal advice,” because “requiring disclosure of the
attachments themselves creates a risk that an opponent may reverse engineer the substance of a
client’s request for legal advice”); In re Martinez Sampedro, 2020 WL 8922834, at *2 (D. Conn.
Mar. 2, 2020) (upholding privilege over “nineteen documents at issue . . . attached to emails
between [counsel and clients],” noting that “whereas each document, standing alone, may not
contain privileged information, in this context, they were properly withheld as privileged because
they constitute information communicated to an attorney in connection with obtaining or rendering
legal advice” (cleaned up)); Durling v. Papa John’s Int’l, Inc., 2018 WL 557915, at *8 (S.D.N.Y.
Jan. 24, 2018) (holding that “[t]o be subject to a claim of attorney-client privilege, an attachment
must have been communicated in confidence between counsel and client for the purpose of
obtaining or providing legal advice,” and that “[w]hen assessing whether an attachment is
privileged, [a party] can consider the contents of the parent e-mail and need not view the
attachment as an entirely distinct and independent document”); Rainey v. Plainfield Cmty. Consol.
Sch. Dist. No. 202, 2009 WL 1033654, at *2 (N.D. Ill. Apr. 16, 2009) (“For example, there are
communications from the media or parents that were forwarded to an attorney for legal advice
about how to respond before school officials provided any response. The communications,
including any attachments, sent to the attorney are privileged.”). Courts in this Circuit have held
similarly. See, e.g., Am. W. Bank Members, L.C. v. Utah, 2022 WL 103736, at *9 (D. Utah Jan.
11, 2022) (“[E]ven the forwarding of otherwise public information can reflect a client’s concern
and reveal the client sought legal advice in connection with it sufficient to merit attorney-client
privilege protections.”); In re Lidoderm Antitrust Litig., 2015 WL 7566741, at (4 (N.D. Cal. Nov.
25, 2015) (“The attorney-client privilege protects communications between attorneys and their
clients even when the facts being conveyed may themselves be unprivileged.”); see also Dawe v.
Corrections USA, 263 F.R.D. 613, 621 (E.D. Cal. 2009) (observing that email strings below a
privileged email are, “essentially, ‘attachments’ to the final message between client and attorney”
and upholding privilege over “the entire e-mail string” as a result).

        Epic does not dispute that the underlying emails are privileged, see Dkt. 1134, at 1–2, and
it does not dispute that the attachments “comprise an integral part of a confidential communication



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with counsel for the purpose of obtaining legal advice,” Jared S. Sunshine, The Part & Parcel
Principle: Applying the Attorney-Client Privilege to Email Attachments, 8 J. Marshall L.J. 47, 55
(2014) (collecting authorities). Apple is entitled to withhold the precise documents that were the
subject of a request for or response of legal advice. Under the prevailing approach adopted by
federal courts nationwide, the attachments are properly withheld.

        To be sure, courts recognize that production of such attachments may nonetheless be
appropriate if the attachments “no longer exist[] in any form other than as attached to a privileged
email,” Linet Ams., 2024 WL 3425795, at *17; see also Rainey, 2009 WL 1033654, at *3 (“[T]he
communications as originally received from the media or parents still must be disclosed to the
extent they are responsive to a proper discovery request.”), but that is not the case here. Epic
asserts that all of the documents in this category consist of documents filed in this litigation—to
which it already has full access. See Dkt. 1134, at 1–2. If Epic is right about what the attachments
comprise, then Epic has no legitimate discovery need for the documents themselves; the only
purpose for which Epic could seek production of these documents is to establish that the documents
were sent in connection with the offering or receipt of legal advice. And if Epic is wrong about
what the attachments comprise, then it has no basis for seeking their production.

        With respect to Entry No. 572 (PRIV-APL-EG_00023133), Epic notes that there is no
lawyer on the email. See Dkt. 1134, at 2. That is accurate as to the top email in the thread, but the
top email simply forwards (with no commentary or body text) an earlier email from outside
counsel, attaching the disputed documents. Epic’s suggestion that Apple redact (rather than
withhold) this email appears to be based on the mistaken premise that there is any non-privileged
content not already produced to Epic. There is not—the only non-privileged content in the email
is the same information that is already made available to Epic on the privilege log.




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Press-Related Documents (Entry Nos. 601 (PRIV-APL-EG_10770347), 638 (PRIV-APL-
EG_00025036), 639 (PRIV-APL-EG_00025043))

        Epic also objects to the Special Masters’ sustaining of Apple’s privilege assertions over
certain documents that relate in some way to public relations issues.

         With respect to Entry No. 601 (PRIV-APL-EG_00024072), the document is a draft fact
sheet intended for eventual use with the press sent to counsel (both in-house counsel and outside
counsel retained in connection with this litigation) in preparation for a discussion with the
attorneys regarding those materials. There is a note in the parent email (PRIV-APL-
EG_00024058) indicating a need for “extensive” review by outside counsel. As Apple explained
in its response to Epic’s first round of objections, see Dkt. 1131, at 6, courts have frequently upheld
as privileged drafts of press statements sent to legal counsel for input, see, e.g., Parneros v. Barnes
& Noble, Inc., 332 F.R.D. 482, 498 (S.D.N.Y. 2019) (upholding privilege over “several documents
that specifically requested legal review of language in the press release” (cleaned up)); Pearlstein
v. BlackBerry Ltd., 2019 WL 1259382, at *14 (S.D.N.Y. Mar. 19, 2019) (upholding privilege over
draft press releases “that specifically request legal review”).

         Epic notes that the document is described as a “draft comms” document, but that does not
vitiate the privilege: A “client is entitled to hire a lawyer, and have his secrets kept, for legal
advice regarding the client’s business affairs.” United States v. Chen, 99 F.3d 1495, 1501 (9th Cir.
1996). Nor does it undermine Apple’s claim of work product protection over the document, which
extends to a document that “would not have been created in substantially similar form but for the
prospect of litigation.” ACLU of N. Cal. v. Dep’t of Justice, 880 F.3d 473, 485–86 (9th Cir. 2018)
(cleaned up). This document was created in conjunction with outside counsel as part of press
efforts in connection with this litigation: It would not have been created in this “form” had Apple
not been engaged in litigation.

        The produced version of the document Epic attaches as an exhibit is an attachment from
an email more than seven months later regarding a press query in the United Kingdom about certain
regulatory initiatives (APL-EG_11573880). That version of the document was not sent to counsel
for review and legal advice. As noted above, the fact that the document is not privileged in another
context does not vitiate the privilege when it is part of a request to counsel for legal advice.

         With respect to Entry Nos. 638 (PRIV-APL-EG_00025036) and 639 (PRIV-APL-
EG_00025043), the analysis is similar. These documents were provided to outside counsel in
connection with securing legal advice (PRIV-APL-EG_00025026). The fact that in the parent
document the sender was not seeking legal advice on the documents themselves is immaterial: It
is sufficient that the materials were provided in order to “facilitate” the provision of legal advice.
In re Meta Pixel Healthcare Litig., 2024 WL 3381029, at *2 (N.D. Cal. July 10, 2024); see also
AT&T Corp. v. Microsoft Corp., 2003 WL 21212614, at *3 (N.D. Cal. Apr. 18, 2023)
(“Communications containing information compiled by corporate employees for the purpose of
seeking legal advice and later communicated to counsel are protected by attorney-client
privilege.”). And again, the version produced to Epic was from a different thread that did not
include a request to counsel for legal advice (even though it contained other privileged
information).




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System Disclosure Sheets (Entry Nos. 395 (PRIV-APL-EG_00019590), 396 (PRIV-APL-
EG_00019591), and 403 (PRIV-APL-EG_00019675))

        Epic again challenges the Special Masters’ decisions to uphold three instances in which
Apple withheld drafts of a system disclosure sheet that were shared with or by in-house counsel.
See Dkt. 1134, at 2–3. Apple explained the basis for withholding these specific iterations of system
disclosure sheets (among the thousands that were produced) in its prior filing. See Dkt. 1131, at
2–3. Epic appears to now acknowledge that if a draft system disclosure sheet was shared in
connection with the receipt or provision of legal advice, it may be withheld, and this Court’s recent
ruling confirms as much. See Dkt. 1139, at 8. Epic urges, however, that these three instances do
not rise to that level. Apple disagrees: The Special Masters correctly concluded that these
particular iterations of the system disclosure sheets are properly withheld.

        Epic concedes that Entry Nos. 395 (PRIV-APL-EG_00019590) and 396 (PRIV-APL-
EG_00019591) were sent to in-house counsel (Ling Lew), but emphasizes that the documents were
also sent to two non-lawyers. See Dkt. 1134, at 3. The primary purpose test does not turn on the
number of non-lawyers included on a communication. See In re 3M Combat Arms Earplug Prods.
Liab. Litig., 2020 WL 1321522, at *5 (N.D. Fla. Mar. 20, 2020) (“The number of lawyers or
non-lawyers to whom a communication is addressed is, in most circumstances, immaterial.”);
Rowe v. E.I. DuPont de Nemours & Co., 2008 WL 4514092, at *11 (D.N.J. Sept. 30, 2008) (“The
Court rejects [the plaintiffs’] argument that because the e-mails . . . were sent primarily to
non-lawyers, they could not have predominantly served a legal purpose and therefore are not
attorney-client privileged.”); In re Vioxx Prods. Liab. Litig., 501 F. Supp. 2d 789, 799 (E.D. La.
2007) (“[T]he number of lawyers or non-lawyers to whom a communication was disseminated is
not dispositive.”). But even if it did, those non-lawyers were merely copied on the email—the
only recipient in the “To” line was Ms. Lew. The parent email (PRIV-APL-EG_00019586) further
shows that Ms. Lew was the initiator of the conversation and the sole named recipient of the parent
email.

        With respect to Entry No. 403 (PRIV-APL-EG_00019675), this image comes from the
limited portion of the parent document (PRIV-APL-EG_00019654) redacted by Apple involving
a discussion between Ms. Lew and various engineers in which Ms. Lew references a conversation
with Sean Cameron (in-house counsel) about the draft system disclosure sheet shared in the chat.




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Slack Channel (Entry No. 3188 (PRIV-APL-EG_00103312)

        Entry No. 3188 (PRIV-APL-EG_00103312) was properly withheld as privileged because
the entire document (just over a page) consists of a conversation between Ling Lew (in-house
counsel) and several engineers regarding contractual requirements (including under the Developer
Program License Agreement, sometimes abbreviated “PLA”)) for developers to access new App
Store features and the legal implications thereof. Because the entire exchange is in pursuit of legal
advice, it is privileged. See In re Meta Pixel Healthcare Litig., 2024 WL 3381029, at *6
(upholding privilege claim over communication “sent by a non-attorney at counsel’s request
seeking information to facilitate the provision of legal advice”). Although Apple produced a
different version of this document that was only partially redacted, Apple believes the document
should be withheld in full and will request claw back of the inadvertently produced document
assuming the Court upholds the Special Masters’ ruling.1




1
 For the avoidance of doubt, Apple hereby notifies Epic in writing of an inadvertent production
of privileged material, pursuant to Section 12.2 of the protective order. See Dkt. 274.




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Other Documents (Entry Nos. 1588 (PRIV-APL-EG_00041593), 1589 (PRIV-APL-
EG_00041603), 1591 (PRIV-APL-EG_00041605), 1592 (PRIV-APL-EG_00041606), 3132
(PRIV-APL-EG_00102913), and 3403 (PRIV-APL-EG_00105461))

        With respect to the other documents addressed in Epic’s objections, given the Court’s
recent rulings, Apple agrees that Entry Nos. 3132 (PRIV-APL-EG_00102913) and 1588 (PRIV-
APL-EG_00041593) (including its attachments) can be produced without redaction. Apple agrees
that Entry No. 3403 (PRIV-APL-EG_00105461) can be produced with the redactions indicated on
APL-EG_11572861.



 DATED: January 29, 2025                         WEIL, GOTSHAL & MANGES LLP
                                                 By: /s/ Mark A. Perry
                                                 Counsel for Defendant Apple Inc.




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